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                             United States District Court
                             Eastern District of Kentucky
                              Southern Division at London

       UNITED STATES OF AMERICA               )   London Criminal
                                              )   Action No. 07-13-SSS
          vs.                                 )
                                              )   London, Kentucky
       GEORGE CLARK                           )   May 20, 2008
                                              )   2:55 p.m.
                                              )




                   TRANSCRIPT OF TESTIMONY OF CHRISTINE CALDWELL
                 BEFORE THE HONORABLE DANNY C. REEVES, AND A JURY



       Appearances of Counsel:
       On behalf of the United States:            ROGER WEST, ESQ.
                                                  Assistant U.S. Attorney
                                                  260 West Vine Street
                                                  Suite 300
                                                  Lexington, Kentucky 40507

       On behalf of the Defendant:                DAVID S. HOSKINS, ESQ.
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                                                  Corbin, Kentucky 40701

       Court Reporter:                            CYNTHIA A. OAKES, CRR
                                                  Official Court Reporter
                                                  United States District Court
                                                  560 Athens Boonesboro Road
                                                  Winchester, Kentucky 40391
                                                  (859) 983-4346




       Proceedings recorded by mechanical stenography,
       transcript produced by computer.
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    1        (Whereupon, the following proceedings were had in the
    2 presence of the jury.)
    3               THE COURT: Mr. West, you may call your next witness.
    4               MR. WEST: Yes, Your Honor. Christine Caldwell.
    5                              CHRISTINE CALDWELL,
    6 having been first duly placed under oath, was examined and
    7 testified as follows:
    8               THE COURT: Thank you.
    9               Mr. West, you may proceed.
  10                MR. WEST: Thank you, Your Honor.
  11                               DIRECT EXAMINATION
  12 BY MR. WEST:
  13 Q       State your name, please, ma'am.
  14 A       Christine Caldwell.
  15 Q       Ms. Caldwell, are you nervous?
  16 A       No.
  17 Q       Okay. What is your husband's name, please?
  18 A       Kenneth Caldwell.
  19 Q       And where do you live at?
  20 A       Leslie County.
  21 Q       How long have you lived in Leslie County?
  22 A       28 years.
  23 Q       Have you-all lived in the same place the whole time?
  24 A       Yes.
  25 Q       Okay. Ma'am, I'm going to take you back to the events of
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    1 July the 14th of 2006. Were you living at that same house at
    2 that time?
    3 A      Yes.
    4 Q      And were you and Kenneth living there?
    5 A      Yes.
    6 Q      Who was staying with you besides Kenneth that night?
    7 A      My grandson.
    8 Q      And how old is he?
    9 A      He was five at the time.
  10 Q       Was there a certain event that took place towards the
  11 evening hours that drew your attention?
  12 A       Yes.
  13 Q       Do you recall about what time that was, please?
  14 A       It was about 11:15.
  15 Q       All right. Tell the jury, please, what happened.
  16 A       We were getting ready for bed, and Kenneth went to answer
  17 the door and somebody came in with a gun.
  18 Q       All right. Had you seen anybody outside before that?
  19 A       No.
  20 Q       Had you seen any vehicles or anything?
  21 A       We heared one, we didn't see one.
  22 Q       All right. And you said somebody entered the residence?
  23 A       Yes.
  24 Q       And what were they holding?
  25 A       A gun.
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    1 Q      Do you know what kind, ma'am?
    2 A      Not really, no.
    3 Q      Do you know what color or anything?
    4 A      Not for sure, no.
    5 Q      All right. What happened after this person entered the
    6 residence?
    7 A      They said that it had been reported that we had illegal
    8 handguns.
    9 Q      Okay. Did they say anything about belonging to a
  10 particular police agency?
  11 A       Well, they said it was from Harlan County.
  12 Q       Okay. Then what happened?
  13 A       Well, they searched the house.
  14 Q       Okay. Let me ask you this: Were you restrained in any
  15 way?
  16 A       Yes, we were handcuffed.
  17 Q       All right. And how many people actually entered your
  18 residence?
  19 A       Three.
  20 Q       Three? Could you tell what they were wearing?
  21 A       Camouflage clothing.
  22 Q       Okay. Do you know what kind of camouflage?
  23 A       Green.
  24 Q       Were all three of them wearing the same colors?
  25 A       I didn't pay that much attention, no.
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    1 Q      Okay. The very first person that entered the residence,
    2 did he say anything that you heard?
    3 A      He wanted to know where his handguns were at.
    4 Q      Okay. And which one of those three guys actually
    5 handcuffed you?
    6 A      The first one.
    7 Q      Was Kenneth also handcuffed?
    8 A      Yes.
    9 Q      And what about your grandson?
  10 A       No.
  11 Q       Okay. Ma'am, what type of medications are you on or were
  12 you on at the time?
  13 A       I'm on diabetic medicine and high blood pressure medicine
  14 and thyroid medicine.
  15 Q       In addition to this person telling you about the illegal
  16 firearms, did he ask if you had anything else in the house?
  17 A       No.
  18 Q       Did they ask you to point out anything in the house, where
  19 things might be located?
  20 A       He asked me if I know where his handguns were at.
  21 Q       Okay. Were any handguns kept in the residence?
  22 A       No.
  23 Q       Were long guns kept in the residence?
  24 A       Yeah.
  25 Q       Where were they stored at?
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    1 A      They was in a gun rack in the hallway.
    2 Q      Okay. How long were these individuals in your house,
    3 ma'am?
    4 A      About 45 minutes.
    5 Q      Okay. How long were you actually in handcuffs?
    6 A      About 45 minutes.
    7 Q      Okay. What did these individuals take from your residence?
    8 A      They took guns and jewelry and cell phones and medication.
    9 Q      Okay. Did they take your thyroid medication?
  10 A       Yes.
  11 Q       Did they take your diabetic medication?
  12 A       Yeah, they took it all.
  13 Q       Did they take the blood pressure medication too?
  14 A       Yeah.
  15 Q       Was any medication left after they left the residence?
  16 A       No.
  17 Q       Okay. Did any of them say anything to you as they left the
  18 residence?
  19 A       Said if we got up that they would shoot us.
  20 Q       Okay. What did you do when they said that?
  21 A       We sat there.
  22 Q       Okay. Ma'am, do you know if any of these individuals were
  23 taller than another one?
  24 A       No, I didn't pay that much attention.
  25 Q       Okay. What was your grandson doing at this time?
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    1 A      He was just playing.
    2 Q      Did they also take money out of the residence?
    3 A      Just what was in my purse.
    4 Q      How much was in your purse, ma'am?
    5 A      I think I had about 15 or 1600. I had a -- was going to
    6 pay off a loan with some of it, and then the rest was bill
    7 money.
    8 Q      Did these fellows ever show you a badge, police badge?
    9 A      They didn't show it, they were wearing it.
  10 Q       What do you mean, wearing it?
  11 A       It is on their shirt.
  12 Q       It was on their shirt?
  13 A       Uh-huh.
  14 Q       It wasn't like a swinging badge like this one that hangs
  15 around their necks?
  16 A       No.
  17 Q       Okay. So it was just like emblazoned on the pocket or
  18 something?
  19 A       Yeah, it was --
  20 Q       Ms. Caldwell, at some point, did you ever make a
  21 determination these guys may not be police officers?
  22 A       Not until they uncuffed us.
  23 Q       Okay. Why would that make you draw that conclusion?
  24 A       Because I just figured it out, the police wouldn't do that.
  25 Q       Okay. Did you call the police afterwards?
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    1 A      Yes.
    2 Q      And did you file a police report?
    3 A      Yes.
    4 Q      Okay. I'm going to ask you a question, Ms. Caldwell. Has
    5 Kenneth ever sold drugs?
    6 A      No.
    7 Q      Have you ever sold drugs?
    8 A      No.
    9 Q      Did they take Kenneth's medication, too?
  10 A       Yes.
  11 Q       And what was that?
  12 A       Lortabs.
  13                MR. WEST: That's all of this witness, Your Honor.
  14                THE COURT: Thank you.
  15                MR. HOSKINS: No questions.
  16                THE COURT: Thank you.
  17                Ms. Caldwell, you're excused, you may step down.
  18 Thank you.
  19                MR. WEST: Your Honor, may she be finally excused,
  20 please, sir?
  21                THE COURT: Yes. I assume she's not under subpoena.
  22                MR. HOSKINS: No objection.
  23                THE COURT: You may be excused, yes.
  24                                  (Proceedings concluded at 3:10 p.m.)
  25                             CERTIFICATE
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    1        I, Cynthia A. Oakes, certify that the foregoing is a
    2 correct transcript from the record of proceedings in the
    3 above-entitled matter.
    4
    5 5/26/2008                                s/CYNTHIA A. OAKES
        DATE                                   CYNTHIA A. OAKES, RPR, RMR, CRR
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